                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 Vikram Bhatia, D.D.S., et al., on behalf      Case No. 0:16-cv-01304-DWF-DTS
 of themselves and all others similarly
 situated,                                          MEET AND CONFER
                                                      STATEMENT
               Plaintiffs,

 v.

 3M Company,

               Defendant.

      Pursuant to Local Rule 7.1(a), Plaintiffs certify that Co-Lead counsel for Plaintiffs

met and conferred with counsel for Defendant 3M Company via email, on May 31, 2022,

regarding Plaintiffs’ Motion for Fourth Disbursement of Settlement Funds to Claimants,

Payment of Fees and Expenses for the Claims Administrator, and Proposal for Distribution

of Remaining Funds. 3M takes no position on Plaintiffs’ motion to distribute funds to class

members.

Dated: June 2, 2022                         Respectfully submitted,

                                            /s/ Daniel C. Hedlund
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Plaintiffs’ Co-Lead Counsel




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